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                                                                                    Attorneys for Plaintiff and the Proposed Direct
                                                                                 12 Purchaser Class
                                                                                 13
                                                                                                                     UNITED STATES DISTRICT COURT
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                                                                                                  NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
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                                                                                      IN RE: CATHODE RAY TUBE (CRT)                     Case No. C07-5944 SC
                                                                                 17 ANTITRUST LITIGATION
                                                                                 18
                                                                                      This Document Relates to:                         Case No. C07-5944 SC
                                                                                 19
                                                                                      Crago, Inc., on behalf of itself and others       INTERNATIONAL LETTER OF
                                                                                 20 similarly situated,                                 REQUEST (LETTER ROGATORY)
                                                                                 21                    Plaintiff,
                                                                                 22              vs.
                                                                                 23 Chunghwa Picture Tubes, Ltd., et al.,
                                                                                 24                    Defendants.
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                                                                                                  INTERNATIONAL LETTER OF REQUEST (LETTER ROGATORY); Case No. C07-5944 SC
                                                                                  1              TO THE APPROPRIATE JUDICIAL AUTHORITY IN MALAYSIA:

                                                                                  2              The United States District Court for the Northern District of California presents its

                                                                                  3 compliments to the judicial authorities of Malaysia, and respectfully requests international judicial
                                                                                  4 assistance to effect service of process in connection with a civil proceeding currently before this
                                                                                  5 Court in the above captioned matter.
                                                                                  6 I.           REQUEST

                                                                                  7              This Court respectfully requests the assistance described herein as necessary in the

                                                                                  8 interests of justice. The assistance requested is that the judicial authorities of Malaysia effect
                                                                                  9 service of process of (1) the Amended Summons in a Civil Case; (2) the Class Action Complaint;
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                                                                                 10 (3) the Order Setting Initial Case Management Conference and ADR Deadlines, and the Standing
                                                                                 11 Order for all Judges of the Northern District of California, Contents of Joint Case Management
                                              44 MONTGOMERY STREET, SUITE 1200
                                               SAN FRANCISCO, CALIFORNIA 94104




                                                                                 12 Statement; and (4) the ECF Registration Information Handout. This Court requests service of
                                                                                 13 process on the below named business entity, a named defendant in this action:
                                                                                 14                                         Chunghwa Picture Tubes (Malaysia) Snd. Bhd.
                                                                                 15                                         Lot 1, Subang Hi-Tech Industrial Park
                                                                                                                            Batu Tiga, 4000 Shah Alam
                                                                                 16                                         Selangor Darul Ehsan
                                                                                                                            Malaysia
                                                                                 17
                                                                                 18              The judicial authorities of Malaysia are requested to serve the documents listed above by

                                                                                 19 personal service into the hands of a director, managing agent or other person authorized to accept
                                                                                 20 service, or in a manner of service consistent with the laws of Malaysia. This Court further
                                                                                 21 requests that the judicial authorities of Malaysia return, through diplomatic channels to Plaintiff's
                                                                                 22 attorney, the affidavit of service and a copy of the documents that were served.
                                                                                 23 II.          SUMMARY OF FACTS
                                                                                 24              Plaintiff Crago, Inc. brings this action on behalf of itself and on behalf of a plaintiff class

                                                                                 25 consisting of all persons and entities who purchased products containing a cathode ray tube
                                                                                 26 ("CRT") in the United States directly from one or more named defendants between January 1,
                                                                                 27 1995 and the present. Defendants are the leading manufacturers of CRTs and control the majority
                                                                                 28 of the CRT industry. Plaintiff alleges that defendants conspired, combined and contracted to fix,

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                                                                                                  INTERNATIONAL LETTER OF REQUEST (LETTER ROGATORY); Case No. C07-5944 SC
                                                                                  1 raise, maintain, and stabilize the prices at which CRTs were sold in the United States in violation
                                                                                  2 of Section 1 of the Sherman Antitrust Act, 15 United States Code Section 1. For its injuries,
                                                                                  3 Plaintiff is requesting treble damages and an injunction enjoining defendants' anti-competitive
                                                                                  4 activity under sections 4 and 16 of the Clayton Act, 15 United States Code Sections 15 and 26.
                                                                                  5 III.         RECIPROCITY

                                                                                  6              The United States District Court for the Northern District of California is willing to

                                                                                  7 provide similar assistance to the judicial authorities of Malaysia.
                                                                                  8 IV.          REIMBURSEMENT OF COSTS

                                                                                  9              Counsel for Plaintiff are willing to reimburse the judicial authorities of Malaysia for costs
PEARSON, SIMON, SOTER, WARSHAW & PENNY, LLP




                                                                                 10 incurred in executing this letter rogatory. If the cost of executing this Court's letter rogatory
                                                                                 11 exceeds $500.00, the judicial authorities of Malaysia are requested to contact the following
                                              44 MONTGOMERY STREET, SUITE 1200
                                               SAN FRANCISCO, CALIFORNIA 94104




                                                                                 12 counsel for Plaintiff:
                                                                                 13                                        Bruce L. Simon
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                                                                                 17              In acknowledgment of the additional time which is needed to prepare and file a responsive
                                                                                 18 pleading to the attached documents, the time period is extended to 45 days after service.
                                                                                 19              This Court extends to the judicial authorities of Malaysia the assurances of its highest
                                                                                 20 consideration.
                                                                                 21
                                                                                             2/13
                                                                                 22 DATED: _________________, 2008                             _________________________
                                                                                                                                               The Honorable Samuel Conti
                                                                                 23                                                            United States District Court
                                                                                      [COURT SEAL]                                             Northern District of California
                                                                                 24                                                            450 Golden Gate Avenue
                                                                                                                                               San Francisco, California 94102
                                                                                 25                                                            United States of America
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                                                                                                  INTERNATIONAL LETTER OF REQUEST (LETTER ROGATORY); Case No. C07-5944 SC
